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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



RENAY LYNCH,
                               Plaintiff,
     -against-

The TOWN OF AMHERST, Michael J. Melton,          25-cv-00075-LJV
Joseph LaCorte, Raymond Klimczak, and the
COUNTY OF ERIE,

                               Defendants.




        PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
                      AMHERST DEFENDANTS’
    PARTIAL MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)




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                                PRELIMINARY STATEMENT

       Plaintiff Renay Lynch spent over 25 years wrongfully imprisoned for the murder of her

friend and landlord Louise Cicelsky: a crime she did not commit. Ms. Lynch, a victim of domestic

violence,who engaged in petty crime as a means of survival was particularly vulnerable to

manipulation and deprivation of her civil rights. That vulnerability was exploited byDefendant

officers Michael J. Melton, Joseph LaCorte, Raymond Klimczak and was enabled, in large part,

by the Town of Amherst (“Amherst” or the “Town”) and the Amherst Police Department (“APD”)

(jointly, the “Amherst Defendants”), whose long standing failures to train and discipline officers

created the conditions for such misconduct.Defendants now file the present partial motion to

dismiss as to the municipal liability claims. They also seek to challenge service of a notice of claim

that they never before contested—after subjecting Plaintiff to a rigorous -hour hearing pursuant to

New York’s General Municipal Law § 50-h. Plaintiff submits this Memorandum in Opposition to

Amherst Defendants’ partial motion to dismiss.

       This case stems from the egregious wrongs of Defendants Melton, LaCorte, and Klimczak

as well as the wrongs by Amherst and Defendant Melton in failing to properly train and supervise

its officers, creating an atmosphere rife with constitutional violations that led to Ms. Lynch’s

unlawful incarceration for over 25 years.

                                    STATEMENT OF FACTS

       Plaintiff relies on the thorough recitation of the facts in the Complaint. However, briefly,

in May 1995, Louise Cicelsky was found stabbed to death in her apartment in Amherst, New York.

(Compl., Dkt. No. 1 ¶¶ 43-46.) For eighteen months, the APD investigated the murder. (Id. ¶ 7.)

They identified numerous suspects with motives, including individuals who Ms. Cicelsky had sued

or locked out of apartments and who admitted having animosity towards her. (Id. ¶¶ 89-112.)


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Among the persons considered as a suspect was a downstairs tenant-neighbor with a manslaughter

conviction and a violent past who had a rocky relationship with Ms. Cicelsky. This person, referred

to as Suspect C in the Complaint, knew Ms. Cicelsky always left her back door unlocked. (Id. ¶¶

113-130.)

       Ms. Lynch was not initially a suspect. (Id. ¶ 138.) Instead, the Defendant Officers turned

to her for information about a man named Kareem Walker, with whom Ms. Lynch had a brief

relationship and who drove her to Ms. Cicelsky’s apartment building on one occasion to pay her

rent. (Id. ¶¶ 87, 139, 159.) On or about October 15, 1996, APD Investigators learned that Ms.

Lynch had been arrested and was facing the prospect of jail time for larceny charges. (Id. ¶ 157.)

Officers decided to use Ms. Lynch’s legal predicament to coerce her into obtaining information

they could use to arrest Mr. Walker. (Id. ¶ 158.)

       On October 22, 1996, Defendants LaCorte and Klimczak approached Ms. Lynch at the Erie

County Courthouse prior to her being sentenced and told her that, if she helped them obtain

information connecting Mr. Walker to Ms. Cicelsky’s murder, they could help her avoid jail time

for her larceny charges. (Id. ¶¶ 159, 161.) Although Ms. Lynch did not have any information that

Kareem Walker was involved in the Cicelsky murder, she agreed to help Defendants LaCorte and

Klimczak to avoid jail time by wearing a wire. (Id. ¶¶ 162-63.) Ms. Lynch did not obtain any

information connecting Kareem Walker to the murder of Ms. Cicelsky (Id. ¶¶ 168-69.) Eager to

close the investigation, on November 6, 1996, Defendants Melton, LaCorte, and Klimczak, and

other APD Investigators again attempted to coerce Ms. Lynch into providing them with a statement

implicating Mr. Walker with Ms. Cicelsky’s murder. (Id. ¶ 172.)

       Shortly thereafter, Defendants Melton, LaCorte and Klimczak learned that Kareem Walker

was in Florida around the time of Ms. Cicelsky’s murder and could not have been involved. Around


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this time, Defendants Melton, LaCorte, and Klimczak also learned that Ms. Lynch had been

involved in the robbery of an expensive fur coat. (Id. ¶ 183.) Defendants LaCorte and Klimczak

arrested Ms. Lynch for the robbery and brought her to the APD. (Id. ¶ 184.) Defendant LaCorte

testified at trial that he was enraged with Ms. Lynch and acted “nasty” towards her because she

“ma[de] [him] look bad” by stealing the coat while she was out on appeal bond because of his

efforts. (Id. ¶ 185.)

        While in custody, Ms. Lynch was visibly suffering severe withdrawal symptoms from

drugs and was in great physical distress. (Id. ¶ 186.) Knowing she was suffering from withdrawal

symptoms, Defendant LaCorte threatened Ms. Lynch with seven years in prison for the theft of

the fur coat, but said that she would not be arrested if she helped them retrieve the coat, which she

subsequently did. (Id. ¶ 188.) Despite his earlier promise that he would keep her out of prison if

she recovered the coat, Defendant LaCorte told Ms. Lynch he was charging her for the stolen coat

and that she would be in prison for several years. (Id. ¶ 191.) At this point, Ms. Lynch had been in

police custody for approximately six hours and her sickness from withdrawal had significantly

worsened. (Id. ¶ 192.) Defendants Melton, LaCorte, and Klimczak told Ms. Lynch that she would

be prosecuted for the theft of the coat unless she gave them information about Ms. Cicelsky’s

murder. (Id. ¶ 193.) Defendant LaCorte falsely told Ms. Lynch that they knew Walker committed

the murder but that her November 6 statement—in which she placed Walker but not herself at the

scene of the crime—would not be enough to arrest him as they “needed [her] to be there at the

murder.” (Id. ¶ 194.)

        Though Defendants Melton, LaCorte, and Klimczak knew that Mr. Walker could not have

committed the murder because he was in Florida at the time, they nevertheless showed Ms. Lynch

gruesome crime scene photographs of her friend’s murder and fed her false information about


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how Mr. Walker had murdered Ms. Cicelsky. (Id. ¶¶ 195-96.) The Defendants used threats,

pressure, and intimidation including threats of a charge of perjury and ten-to-fourteen years in jail

if she did not “confess.” (Id. ¶¶ 197-99.) As a result of the Defendants’ coercion, Ms. Lynch

agreed to sign a statement “confession” written by Defendant Klimczak. (Id. ¶ 201.)

       At the trial in which Ms. Lynch was ultimately convicted, Defendant Captain Melton, who

was in charge of fingerprint analysis at the APD, falsely testified that only two latent prints from

the crime scene were suitable for comparison. (Id. ¶ 288.). He also falsely testified that there were

no “usable” prints obtained from inside the victim’s home. (Id. ¶ 289.) Both of these statements

were provably, and knowingly, false. In fact, APD Officers had submitted five prints, not two, to

be compared against fingerprints maintained in the state’s database. (Id. ¶ 292.) Additional

documentation suppressed from Ms. Lynch until after 2017 established that at least nine

fingerprints from inside the crime scene were found, and that some, if not all of those prints, were

“usable.” (Id. ¶ 294.) Defendant Melton himself had started analyzing a fingerprint of the

downstairs neighbor which placed him in probative locations inside the victim’s home. (Id. ¶¶

314-316.) Defendant Melton knew that many of these prints were usable, including those

recovered from inside the victim’s home, but knowingly lied under oath about this evidence at trial

when he testified otherwise. (Id. ¶ 303). Though Ms. Lynch testified at trial, disavowing her

November 6 and November 25 statements and maintaining her innocence, she was convicted. On

April 9, 1998, Ms. Lynch was sentenced to twenty-five years to life. (Id. ¶¶ 226-28, 231-32.) Ms.

Lynch was incarcerated as of her November 25, 1996 arrest, and remained so until her release on

parole on January 27, 2022. (Id. ¶ 233.) She was exonerated on January 4, 2024. (Id. ¶ 368.)

                                   PROCEDURAL HISTORY

       On April 2, 2024, Plaintiff served a Notice of Claim upon the Town of Amherst within


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ninety days of the events giving rise to her claims. On October 1, 2024, Plaintiff appeared for an

examination pursuant to Section 50-h taken jointly by attorneys for the Town of Amherst, the

Town of Tonawanda, the County of Erie, and the individually named defendants. . At no time did

Defendant Town of Amherst ever return the Notice of Claim as defective or assert any objection

to service of the Notice of Claim.

         Plaintiff filed this civil rights action on January 23, 2025. All Defendants were properly

served. On April 15, 2025 Defendants Town of Amherst, Melton, LaCorte and Klimczak filed the

present partial motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6). First, Defendant’s partial

motion seeks dismissal of Plaintiff’s Claims 9 and 11 on the grounds that the Complaint “failed to

assert within its four corners that the alleged constitutional violations by Amherst attach Monell

liability under 42 U.S.C. § 1983.” (Dkt. 14-3, p. 1). Second, Amherst Defendants claim for the

first time that Plaintiff failed to meet the notice requirements of General Municipal Law § 50-e in

relation to claims 12-16.1

                                       LEGAL STANDARD

          “[W]hen ruling on a defendant’s motion to dismiss, a judge must accept as true all of the

factual allegations contained in the complaint.” Erickson v. Pardus, 551 U.S. 89, 93 (2007). Rule

12(b)(6) requires that a court considering a motion to dismiss “draw all reasonable inferences in

favor of the plaintiff.” Daniel v. T & M Prot. Res., Inc., 992 F. Supp. 2d 302, 304 n.1 (S.D.N.Y.

2014) (citing Koch v. Christie's Int'l PLC, 699 F.3d 141, 145 (2d Cir. 2012)).

         Based on this view of the allegations, if there are “enough facts to state a claim to relief

that is plausible on its face,” the Court must deny the motion to dismiss. Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 555, 570 (2007). A claim is plausible if it contains enough factual



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    Defendants Amherst, Melton, LaCorte and Klimczak have not moved to dismiss claims 1-8, 10.
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allegations, taken as true, “to raise a right to relief above the speculative level.” Twombly, 550 U.S.

at 570. Plaintiff’s Complaint clearly meets the requisite standard.

                                           ARGUMENT

I.     PLAINTIFF’S § 1983 CLAIM AGAINST THE TOWN OF AMHERST MUST
       SURVIVE

       Plaintiff’s detailed Complaint more than sufficiently alleges municipal liability at the

motion to dismiss stage. The Defendants’ claim that Plaintiff has not provided sufficient facts to

allege municipal liability is patently wrong. (Amherst Defs’ MOL at 2.) Plaintiff has alleged (1)

that the Town of Amherst was deliberately indifferent to the need to maintain, analyze, and/or turn

over forensic evidence, including fingerprint evidence, see, e.g., Compl. ¶¶ 433-36; (2) that the

Town of Amherst failed to train its officers, including on proper interrogation tactics and charging

decisions, ultimately leading to Ms. Lynch’s false confession, e.g., id. ¶¶ 556-58; and (3) that

Defendant Captain Michael Melton was a policymaker who knowingly caused the unconstitutional

conduct and intentionally violated Ms. Lynch’s constitutional rights and caused others to do the

same, e.g., id. ¶¶ 300, 312-320.

       For a person deprived of a constitutional right to have recourse against a municipality under

Section 1983, he or she must show harm that results from an identified municipal “policy,”

“custom,” or “practice.” See generally Monell v. N.Y. City Dep’t of Soc. Servs., 436 U.S. 658, 690–

91 (1978). To state a claim for municipal liability pursuant to Monell, a plaintiff must allege:

               (1) a formal policy which is officially endorsed by the municipality;
               (2) actions taken or decisions made by government officials
               responsible for establishing municipal policies which caused the
               alleged violation of the plaintiff's civil rights; (3) a practice so
               persistent and widespread that it constitutes a custom or usage and
               implies the constructive knowledge of policy-making officials; or
               (4) a failure by official policy-makers to properly train or supervise
               subordinates to such an extent that it amounts to deliberate
               indifference to the rights of those with whom municipal employees

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               will come into contact.

Moray v. City of Yonkers, 924 F. Supp. 8, 12 (S.D.N.Y. 1996); see also Vaher v. Town of

Orangetown, N.Y., 916 F. Supp. 2d 404, 439 (S.D.N.Y. 2013) (internal citations omitted).

       The Second Circuit has consistently held that a municipality’s failure to train or supervise

its employees can constitute a “policy or custom” if that failure amounts to “deliberate indifference

to the rights of persons with whom the [employees] come into contact.” City of Canton v. Harris,

489 U.S. 378, 388 (1989); Jenkins v. City of New York, 478 F.3d 76, 94 (2d Cir. 2007). “Deliberate

indifference may be inferred where ‘the need for more or different training is so obvious, and the

inadequacy so likely to result in the violation of constitutional rights, that the policymakers of the

city can reasonably be said to have been deliberately indifferent to the need.’” Jenkins, 478 F.3d

at 94 (quoting City of Canton, 489 U.S. at 390).

       At the motion to dismiss stage, a plaintiff need not prove these elements, but rather need

only sufficiently allege them to make out a plausible claim for relief. See Santos v. New York City,

847 F. Supp. 2d 573, 576 (S.D.N.Y. 2012) (citing Dwares v. City of New York, 985 F.2d 94, 100

(2d Cir. 1993)). There is no heightened pleading requirement for complaints alleging municipal

liability under 42 U.S.C. § 1983. Leatherman v. Tarrant Cnty. Narcotics Intelligence &

Coordination Unit, 507 U.S. 163, 168 (1993).

       Under § 1983, local governments are responsible for “their own illegal acts.” Pembaur v.

Cincinnati, 475 U.S. 469, 479 (1986). In other words, the municipality must be the “the moving

force” causing the underlying constitutional violation. Monell, 436 U.S. at 694. Causation may be

proven either by showing that a final policymaker directly committed or commanded the violation

of the plaintiffs federal rights, “or that while the policymaker himself engaged in ‘facially lawful

. . . action,’ he indirectly caused the misconduct of a subordinate municipal employee.” Jeffes v.


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Barnes, 208 F.3d 49, 61 (2d Cir. 2000) (quoting Bd. of the Cnty. Comm'rs v. Brown, 520 U.S. 397,

405-07 (1997)).

    A. Plaintiff Sufficiently Alleges the Town of Amherst Was Deliberately Indifferent to the
       Need to Maintain, Analyze, and/or Turn Over Forensic Evidence

        The need for training on properly maintaining, analyzing, and turning over forensic

evidence, including fingerprint evidence—the bedrock of many criminal prosecutions and

defenses—is “so obvious” that Amherst’s failure to provide it is plausibly deliberately indifferent.

Walker v. New York, 974 F.2d 293, 297-98 (2d Cir. 1992) (finding deliberate indifference where a

municipality knows its employees will confront a situation presenting difficult choices that could

lead to constitutional violations, and the wrong choice will frequently cause such violations, yet

fails to train).

        Ms. Lynch alleges in great detail how the APD failed to properly maintain, analyze, or turn

over fingerprint evidence in her case and failed to properly train its employees on maintaining,

analyzing, and turning over fingerprint records. (Compl. ¶¶ 433, 434, 436.) These fingerprint

records included the discovery of 14 digital images of fingerprints taken from the crime scene and,

most egregiously, a CD of ten latent prints collected from the crime scene that were only turned

over to her 25 years after her conviction. (Id. ¶¶ 276-282, 311.) Some of these prints were found

in probative locations within Ms. Cicelsky’s home, including on a door jamb in the kitchen near

where Ms. Cicelsky’s body was found and a door jamb leading to the hallway where a bloody

drawer and purse were found. (Id. ¶¶ 283-286.).

        Plaintiff also alleged that Defendant Melton, a Captain and supervisor in the APD,

knowingly testified falsely that there were no “usable” prints obtained from inside the victim’s

home. (Id. ¶¶ 288-290.) The Complaint alleges that Defendant Melton was the only supervisor

capable of overseeing fingerprint analysis and that he individually marked and began analyzing

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the photograph of at least a fingerprint that placed the downstairs tenant in a probative location

inside Ms. Cicelsky’s apartment and near her body. (Compl. ¶¶ 313-17.) This fingerprint would

have been suitable for comparison during the relevant time period. (Id. ¶ 317.)

       Additionally, Plaintiff alleged that, despite APD’s formal policy requiring officers to create

a written report regarding the findings of any latent print analyses, only one latent print analysis

report was ever issued and/or produced. (Id. ¶ 301.) Defendants, including Defendant Captain

Melton, failed to produce written reports regarding the findings of latent print analyses for the

recovered fingerprints, as compared against at least 23 suspects. (Id. ¶ 300.)

       In Connick v. Thompson, the Supreme Court reaffirmed the viability of the “single-

incident” theory of liability established in Canton. 563 U.S. 51, 61, 62; Canton, 489 U.S. at 390

n.10. Under that theory, a municipality can be found to be deliberately indifferent based on a single

constitutional violation where “the unconstitutional consequences of failing to train [are] so

patently obvious that a city should be liable under [Section] 1983 without proof of a pre-existing

pattern of violations.” Connick, 563 U.S. at 61. The violation of constitutional rights must be a

“highly predictable consequence” of the failure to train. Id. (internal quotation marks omitted).

Thus, deliberate indifference may be inferred where the need for more or better supervision to

protect against constitutional violations was obvious, but the policymaker failed to make

meaningful efforts to address the risk of harm to plaintiffs.” Cash v. Cnty. of Erie, 654 F.3d 324,

334 (2d Cir. 2011) (alterations and internal citations and quotation marks omitted), cert. denied,

132 S. Ct. 1741, 182 L. Ed. 2d 528 (2012). Courts in this Circuit have found that “similar single

incident claims survive motions for summary judgment or motions to dismiss.” Boston v. Suffolk

Cty., 326 F. Supp. 3d 1, 24 (E.D.N.Y. 2018) (collecting cases).

       In Chamberlain v. City of White Plains, the Southern District of New York applied the


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single-incident theory to the White Plains Police Department’s response to a welfare check on an

emotionally disturbed person. 986 F. Supp. 2d 363 (S.D.N.Y. 2013). The court held that the

plaintiff’s complaint made sufficient allegations to survive a motion to dismiss on their claim that

“‘to a moral certainty’. . .WPPD officers would encounter EDPs in the course of their duty.” Id. at

393. Similarly, in Boston v. Suffolk Cty, the court held that there was a “material issue of disputed

fact as to whether the Plaintiff’s injuries were caused by Suffolk and Smithtown’s failure to train

their officers on the effects of drugs on individuals and how to interact with arrestees” based on

the single-incident theory. 326 F. Supp. 3d at 24-25 (E.D.N.Y. 2018). The court further noted that,

“if other officers responded in the same way as Rangers Sokol and Paterson and Sergeant Health

did, then other arrestees’ constitutional rights would also likely be violated.” Id. at 24. Here, if

officers acted in the same way as Defendant Officers Melton, LaCorte, and Klimczak, then others’

constitutional rights would certainly be violated.

       Defendants’ reliance on Santana v. City of New York, a case involving a pro se incarcerated

person who brought a conditions-of-confinement case, is misplaced. (Amherst Defs’ MOL at 8.)

There, the Court relied on the fact that the allegation against the municipality did not include

“actors below the policy-making level.” 2018 U.S. Dist. LEXIS 53865, at *30 (S.D.N.Y. Mar. 29,

2018). The reliance on Bird v. County of Westchester similarly must fail because Plaintiff is

alleging deliberate indifference on the part of the Town of Amherst and a policymaker, Defendant

Melton, in providing appropriate training to avoid the inevitable unconstitutional conduct.

(Amherst Defs’ MOL at 8.) Plaintiff has specifically alleged that a supervisor and policymaker—

Defendant Melton—was involved in this failure. (Compl. ¶¶ 536-540). Defendants knew to a

moral certainty that officers would undertake fingerprint analysis and maintenance and that they

would be required to turn that evidence over. Their failure to do so in Ms. Lynch’s case, intentional


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or not, on its own should be sufficient to allege a violation under Monell. Walker v. New York,

974 F.2d 293, 300 (2d Cir. 1992) (“a complete failure by the DA in 1971 to train ADAs on fulfilling

Brady obligations could constitute deliberate indifference sufficient to give rise to § 1983

municipal liability.”); see also Boyd v. City of Buffalo, No. 22-cv-00519, 2025 U.S. Dist. LEXIS

7187, at *30-31 (W.D.N.Y. Jan. 14, 2025) (flawed understanding of a district attorney's office’s

Brady obligations was sufficient to establish widespread practice).2

       This Court should therefore conclude that “the need to train police officers about the

constitutional limitations involved in [turning over fingerprint evidence as well as fingerprint

maintenance and analysis] duties is ‘so obvious,’ and the consequences of deficient training are so

likely to result in constitutional deprivations, that the failure to provide sufficient training can be

properly characterized as ‘deliberate indifference’ to the constitutional rights of citizens.” Ocasio

v. City of Canandaigua, 513 F. Supp. 3d 310, 326-27 (W.D.N.Y. 2021).

    B. Plaintiff Sufficiently Alleges Failure by Supervisors to Sufficiently Train Officers on
       Proper Interrogation Tactics Leading to False Confessions

       Plaintiff has also alleged Defendant Amherst’s deliberate indifference in failing to train

officers on proper interrogation and investigation tactics and on decisions to charge in the absence

of probable cause. First, Ms. Lynch has alleged that the Defendant policymakers knew or should

have known “to a moral certainty” that during the course of a criminal investigation officers would

regularly confront decisions relating to the questioning of witnesses and suspects and the initiation

of charges, Compl. ¶¶ 536, 540(a); that adequate training would make the right choice less difficult



2
 The additional cases cited by the Defendants are unavailing. In Greene v. City of New York,
Amherst Defs’ MOL at 12, the Second Circuit issued a summary order related to a district court’s
grant of summary judgment after the parties had the benefit of discovery. Similarly, in Brogdan v.
City of New Rochelle, Amherst Defs’ MOL at 8, the court found that, after discovery, the plaintiff
“adduces no evidence that the alleged violations of Brogdon's right resulted from any City policy
or custom.” 200 F. Supp. 2d 411, 415 (S.D.N.Y. 2002).
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to choose, id. ¶ 540(b); and that the wrong choice would frequently result in a constitutional

violation, id. ¶ 540(d). Additionally, Plaintiff has alleged that the policymakers created substantial

incentives for their employees to commit constitutional violations when confronted with these

decisions by pressuring police officers to close cases and initiate prosecutions through coercion

and trickery, id. ¶ 539, and that policymakers themselves ratified the unconstitutional conduct,

infra.

         The Town’s violations of Ms. Lynch’s constitutional rights demonstrate that APD training

was so “obviously deficient” that the Court should apply Connick’s single-incident theory of

liability, discussed supra. See Edrei v. City of New York, 254 F. Supp. 3d 565, 581 (S.D.N.Y.

2017), aff’d sub nom, Edrei v. Maguire, 892 F.3d 525 (2d Cir. 2018) (finding that plaintiff stated

a Monell claim “under the single-incident theory of liability contemplated in City of Canton, and

recognized by the cited authority post-Connick.”). Defendants, including policymaker Defendant

Captain Melton, used the threat of jail time to coerce Ms. Lynch into obtaining information that

they could purportedly use to arrest Mr. Walker. (Compl.¶¶ 158-75.) Defendants, including

policymaker Defendant Melton, prepared a statement which falsely claimed that Kareem Walker

confessed to Ms. Lynch that he had killed Ms. Cicelsky. (Id. ¶¶ 175-76.) Defendants, including

policymaker Defendant Melton, demanded that Ms. Lynch call Mr. Walker and falsely claim that

he had infected her with HIV in order to trick him into returning to Buffalo. (Id. ¶178.) Even after

later learning that Mr. Walker was in Florida at the time of the murder (Brady evidence not

disclosed to Ms. Lynch or her attorneys), id. ¶¶ 181-82, Defendants, including policymaker

Defendant Melton, threatened to charge Ms. Lynch with the theft of a fur coat unless she implicated

Mr. Walker in Ms. Cicelsky’s murder. (Id. ¶ 193.). Following this pattern of coercion, Defendants

LaCorte and Klimczak fed Ms. Lynch non-public details about the murder of Ms. Cicelsky and


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through threats, pressure, and intimidation, frightened Ms. Lynch into signing a false confession.

(Id. ¶¶ 195-207.) Ultimately, despite knowing that Ms. Lynch’s confession was false and coerced

and that Mr. Walker was in Florida at the time of the murder, Defendants, including policymaker

Defendant Melton, decided to charge Ms. Lynch with the murder of Ms. Cicelsky. (Id. ¶ 208.)

       In Prevost v. City of New York, a single instance of a low-level officer’s decision to arrest

an individual for attempted murder despite exculpatory evidence was sufficient for the court to

sustain a Monell claim at the motion to dismiss stage. No. 13-CV-3760 VEC, 2014 WL 6907560,

at *7 (S.D.N.Y. Dec. 9, 2014). There, the Plaintiff had called the police to report an assault he had

suffered, and he restrained his assailant until the police arrived. An officer, which the court

assumed was aware of these exculpatory facts, arrested the Plaintiff on multiple charges, including

attempted murder. Plaintiff “[did] not allege[] a pre-existing pattern of violations” and the Monell

claim rose and fell “on the existence of a single violation.” Id. The court found that “the City’s

failure to provide adequate training regarding the importance of an exculpatory defense when

determining whether probable cause exists carried a ‘highly predictable’ consequence” that

satisfied the Monell standard at the motion to dismiss stage. Id.

       Here, Ms. Lynch’s Monell claim presents even more flagrant and systemic violations that

similarly arose as a highly predictable consequence of deficient training on determining whether

to charge an individual with a crime: Ms. Lynch has not only alleged the involvement of multiple

low-level officers, but also that a high-level policymaking official was one of the APD employees

directly involved in the violations of her constitutional rights. And rather than merely ignore

exculpatory evidence as the officer did in Prevost, Ms. Lynch has alleged that the Defendant

officers here actively fabricated evidence against her in order to ultimately charge her with murder.

As such, and as discussed supra, Defendant’s attempts to minimize this conduct as an “isolated


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act[] . . . by non-policymaking municipal employees” should be rejected. (Amherst Defs’ MOL at

13.)

         Plaintiff has also alleged a pattern of misconduct that stretches beyond just Ms. Lynch’s

case. In 1978, the chief judge of the United States District Court for the Western District of New

York condemned the very same interrogation techniques used against Ms. Lynch in a case

involving APD’s illegal arrest, threats, promises of benefits, use of incentivized informants, fraud

and deceit, and an extended duration of interrogation. (Compl. ¶ 545). Two decades later, after

coercing a false confession from Ms. Lynch, the APD enlisted incentivized jailhouse informant

Ms. Hunter to provide a false testimony to further incriminate Ms. Lynch in the murder of Ms.

Cicelsky, another foreseeable consequence of the Town’s failure to train officers in proper

interrogation and evidence-gathering techniques. (Id. ¶ 548)

         For the foregoing reasons, Plaintiff’s failure-to-train claim should not be dismissed as

“discovery will shed light on” whether the APD policymakers were deliberately indifferent.

Chamberlain, 986 F. Supp. 2d at 393.

II.      PLAINTIFF DID NOT FAIL TO MEET THE NOTICE REQUIREMENTS OF
         GENERAL MUNICIPAL LAW § 50-e

      A. The Town Failed to Raise Any Alleged Deficiency in Service of the Notice of Claim

         After requiring Ms. Lynch to sit for a hearing pursuant to General Municipal Law § 50-h,

the Amherst Defendants argue for the first time in the present Motion that Plaintiff improperly

served her Notice of Claim on the Town Comptroller rather than the Town “supervisor” “clerk”,

or “attorney”.

         The Notice of Claim in the present case was timely served, as the Town of Amherst

concedes, on April 2, 2024, one year prior to their present motion. (Amherst Defs’ MOL at 19 and

Attorney Decl., Ex. A.) The notice was stamped “received” by the “Town of Amherst,

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Comptroller’s Office”. (Id. at Attorney Decl., Ex. A.) The Amherst Defendants’ sole argument to

dismiss all of Ms. Lynch’s state law claims related to her 25 year wrongful incarceration is that

Ms. Lynch should have served the Town “supervisor or clerk” or “attorney regularly engaged in

representing such public corporation” declaring without citation “Service on the Town’s

Comptroller constitutes defective service.” (Id. at 20.)

       Assuming, arguendo, that Defendants’ claim that service on the Town Comptroller was

“deficient,” pursuant to General Municipal Law §50-e(3)(c), service will still be deemed valid as

long as “the public corporation demands the claimant be examined in regard to it” or “the public

corporation fail[s] to return the notice specifying the defect in the manner of service, within thirty

days after the notice is received.” Gen. Mun. § 50-e(3)(c).

       Amherst fails on both fronts. The Town demanded that Ms. Lynch appear for an

examination and she did in fact appear on October 1, 2024, as the Amherst Defendants concede.

(Amherst Defs’ MOL at 21.) The 50-h examination lasted over three hours and there was no

mention of any defect. The Town also failed to specify any alleged defect in service within 30

days. Therefore, service must be deemed valid.

   B. Plaintiff Served an Agency of the Town of Amherst, not a Separate Legal Entity

       Additionally, the arguments made by the Town of Amherst misrepresent the law and

exclusively focus on cases concerning notices of claim served on the Comptroller of the City of

New York for injuries allegedly inflicted by New York City Health and Hospitals Corporation, an

entirely independent entity which is not an agency of the City of New York. See, e.g., Amherst

Defs’ MOL at 20-21 (citing Stallworth v. New York City Health & Hosps. Corp., 663 N.Y.S.2d

287 (2d Dep’t 1997); Dreckette v. New York City Health & Hosps. Corp., 994 N.Y.S.2d 813 (Sup.

Ct. 2014); and Ceely v. New York City Health & Hospitals Corp., 556 N.Y.S.2d 694 (1990)). This


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reliance is misplaced because an agency of the Town of Amherst was in fact served, not a separate,

independent entity.3

         This case is more appropriately compared to Wekenmann v. Biegasiewicz, 2024 U.S. Dist.

LEXIS 81911, 2024 WL 1947898 (W.D.N.Y. 2024). There, the plaintiff served a Notice of Claim

on the Erie County Sheriff’s Office rather than the County of Erie. The Court held that the County

examined the plaintiff at a 50-h hearing and therefore “that service of the Notice of Claim was

valid as against the County under § 50-e(3)(c).” Wekenmann, 2024 U.S. Dist. LEXIS 81911, at

*29. That is precisely what occurred here. Ms. Lynch served an agency of the Town of Amherst,

rendering discretion pursuant to § 50-e (3)(c) available to validate service of the Notice of Claim

against the Town of Amherst.

         Here, the Court should find that Plaintiff Lynch’s service of a Notice of Claims on the

Amherst Comptroller is valid and acceptable service just as the courts did in Wekenmann, Santiago

v. Santanna, 8 A.D.3d 650, 779 N.Y.S.2d 554, 2004 N.Y. App. Div. LEXIS 9140 (2d Dep't 2004),

and Cordova-Bell v. N.Y.C. Tr. Auth., 71 Misc.3d 1206(A), 2021 N.Y. Misc. LEXIS 1500 (Sup.

Ct., Bronx Cty., 2021). The Town failed to identify any “defect” within 30 days of receipt of the

Notice of Claim. The Town scheduled and participated in a 50-h hearing, without raising an issue

regarding service of the Notice of Claim until the instant motion. Therefore, their argument that

Plaintiff, who was imprisoned for over 25 years for a crime she did not commit, should have her

New York State claims be dismissed on an alleged “deficiency” after subjecting her to a hearing

on the very notice they claim was deficient is not only an absurdity, but must be rejected.




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  “In deciding a Rule 12(b)(6) motion, the Court is generally limited to reviewing ‘the allegations contained within
the four corners of [Plaintiff's] complaint.’” Bryant v. Ciminelli, 267 F. Supp. 3d 467, 472 (W.D.N.Y. 2017) (quoting
Pani v. Empire Blue Cross Blue Shield, 152 F.3d 67, 71 (2d Cir. 1998)).
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III.   THE COURT SHOULD DECLINE TO CONSIDER DEFENDANTS’ MOTION TO
       DISMISS AS IT IS UNTIMELY, AND NO LEAVE FOR ADDITIONAL TIME WAS
       SOUGHT MUST FAIL BECAUSE THEY FAILED TO TIMELY ANSWER OR
       OTHERWISE RESPOND

       In addition to being meritless, the Amherst Defendants’ motion to dismiss is untimely. The

Court, in its discretion, should decline to consider it. Defendant Amherst accepted service on

January 29, 2025, and the individual Amherst Defendants accepted service on February 1, 2025.

(Dkt. No. 3). Under Fed. R. Civ. P. 12(a)(1), Defendants had 21 days to respond or request an

extension from the Court. Defendants did neither, ignoring the February 20, 2025 deadline for the

Town of Amherst and the February 21, 2025 deadline for the Individual Defendants and instead

filing a response nearly two months later, on April 15, 2025. Therefore, in addition to being

meritless, the motion is also untimely. The court in its discretion should decline to consider it.

       Counsel for Ms. Lynch repeatedly reached out to Amherst Defendants’ counsel to inform

them of their default, even consenting to an extension after the deadline to respond had already

passed. First, on March 3, 2025, Plaintiff’s counsel reached out to Defendants by phone and via

email follow up. (Droubi Decl. ¶ 2, Exh. 1) After receiving no response, Plaintiff’s counsel again

reached out to counsel for the Amherst Defendants by phone with email follow up on March 12,

2025, noting that Defendants “have defaulted on responding to the complaint by over two weeks.”

(Droubi Decl. Exh. 1.) In response to this communication, Defendants inquired via email whether

Plaintiff would be willing to consent to an extension for Defendants’ response to April 15, 2025.

Plaintiff consented “to an application for an extension of time,” (Droubi Decl. Exh. 1) but

Defendants never applied to the Court for this extension. “Filing deadlines, like statutes of

limitations, necessarily operate harshly and arbitrarily with respect to individuals who fall just on

the other side of them, but if the concept of a filing deadline is to have any content, the deadline

must be enforced.” Houston v. Lack, 487 U.S. 266, 282 (1988). Here, the Court should deny the

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Amherst Defendants’ motion to dismiss Plaintiff’s claims due to its untimeliness. See, e.g.,

Schluter Sys., LP v. Sanven Corp., No. 8:22-CV-155, 2022 WL 17617807, at *3 (N.D.N.Y. Dec.

13, 2022) (denying motion to dismiss as untimely under Fed. R. Civ. P. 12); Sterling v. Deutsche

Bank Nat'l Tr. Co. as Tr. for Femit Tr. 2006-FF6, Mortg. Pass Through Certificates, Series 2006-

F6, No. 19-cv-205 (GBD) (KNF), 2019 WL 4199976, at *2 (S.D.N.Y. Sept. 5, 2019) (affirming

magistrate judge’s decision that “Defendants’ untimely motion to dismiss should be denied”); cf.

Kumar v. Alhunaif, No. 23 CIV. 321 (DEH), 2025 WL 833547, at *2 (S.D.N.Y. Mar. 17, 2025)

(“When a party against whom a judgment for affirmative relief is sought has failed to plead or

otherwise defend, and that failure is shown by affidavit or otherwise, the clerk must enter the

party's default.”).

                                         CONCLUSION

        For the foregoing reasons and based on the pleadings and papers filed in this action,

Defendants’ motion should be denied. Should the Court perceive deficiencies with respect to any

of her claims, Plaintiff requests the opportunity to amend her Complaint to amplify the allegations.

See Ronzani v. Sanofi S.A., 899 F.2d 195, 198 (2d Cir. 1990).




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Dated: New York, New York
       May 23, 2025
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